Case 2:05-cr-20213-.]PI\/| Document 19 Filed 07/20/05 Page 1 of 2 Page|D 27

rN THE uNlrED sTATEs DIsTRIcT coURT acf-n :-_i fa<k__ D_C_
FOR THE WESTERN r)IsrRlcT 01= TENNESSEE
WESTERN DlvlsloN 05 JUL 20 AH Il= 25

 

UNITED STA'I`ES OF AMERICA

 

V.

DARRELL STALLINGS 05cr20213-2-Ml

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on % '?O, 200 5 the United States Attorney

for this district appeared on behalf of the gwemmé}rt, and'the defendant appeared in person and with
counsel:

.,¢-_»
NAME K®el//t¥ SM'#» who is Retainedeppointed.

____-____-

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant Who is not in custody, may stand on his present bond.

The defendant (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held withoin bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
K!). ¢¢4'4¢_ /£/. @rmr
UNITED STATES MAGISTRATE IUDGE

CHARGES - 21=841(3)(1) & 18=2
CONTROLLED sUBsTANCE - SELL, DISTRIBUTE, OR DISPENSE

Attorney assigned to Case: S. Leary

Age: 43

This document entered on the docket sheet fn compliance
with Ru|e 55 and/or 32(b} FFtCrP on " ‘“

    

UNITED sTATE DISTRIC COURT - WESTERN D'S'TRCT OFTENNESSEE

       
 

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Scott F. Leary

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GARRETT & ASSOCIATES
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Honorable J on McCalla
US DISTRICT COURT

